    Case: 1:15-cr-00756 Document #: 18 Filed: 01/27/16 Page 1 of 5 PageID #:121




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                           No. 15 CR 756
             v.
                                           Magistrate Judge YOUNG B. KIM
CHARLES       FEARS,     AKA     "KASH"


              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the unopposed motion of the government, pursuant to Fed. R. Crim. P.

16(d) and 18 U.S.C. § 3771(a)(1) and (8), it is hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for,

or in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by defendant and

defendant’s counsel (defined as counsel of record in this case) solely in connection

with the defense of this case, and for no other purpose, and in connection with no

other proceeding, without further order of this Court.

      2.     Defendant and defendant’s counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential

witnesses, counsel for potential witnesses, and other persons to whom the Court

may authorize disclosure (collectively, “authorized persons”). Potential witnesses

and their counsel may be shown copies of the materials as necessary to prepare the

defense, but may not retain copies without prior permission of the Court.
    Case: 1:15-cr-00756 Document #: 18 Filed: 01/27/16 Page 2 of 5 PageID #:122




      3.     Certain materials disclosed or to be disclosed by the government

contain particularly sensitive information, including information relating to the

sexual and physical abuse and trafficking of one or more persons other than the

defendant to whom the information is disclosed. These materials shall be plainly

marked as sensitive by the government prior to disclosure. No such materials, or

the information contained therein, may be disclosed to any persons other than

defendant, counsel for defendant, persons employed to assist the defense, or the

person to whom the sensitive information solely and directly pertains, without prior

notice to the government and authorization from the Court. Absent prior permission

from the Court, information marked as sensitive shall not be included in any public

filing with the Court, and instead shall be submitted under seal (except chooses to

include in a public document sensitive information relating solely and directly to

the defendant.

      4.     Defendant, defendant’s counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by defendant, defendant’s counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      5.     Defendant, defendant’s counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents




                                         2
    Case: 1:15-cr-00756 Document #: 18 Filed: 01/27/16 Page 3 of 5 PageID #:123




of the materials, other than to authorized persons, and all such notes or records are

to be treated in the same manner as the original materials.

      6.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order and require the

authorized person to sign a statement acknowledging that the authorized person

has received a copy of and reviewed this Order, and has agreed to be bound by its

terms and conditions subject to sanctioning by the Court for any violations of this

Order. Defense counsel shall maintain a copy of the signed statement of each

authorized person for a period of twelve months after the conclusion of all stages of

this case, and shall provide copies of the signed statement of each authorized person

to the government upon request.

      7.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the

United States; or (3) retained in defense counsel's case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.




                                          3
    Case: 1:15-cr-00756 Document #: 18 Filed: 01/27/16 Page 4 of 5 PageID #:124




      8.     To the extent any material is produced by the United States to

defendant or defendant’s counsel by mistake, the United States shall have the right

to request the return of the material and shall do so in writing. Within five days of

the receipt of such a request, defendant and/or defendant’s counsel shall return all

such material if in hard copy, and in the case of electronic materials, shall certify in

writing that all copies of the specified material have been deleted from any location

in which the material was stored.

      9.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit

defense counsel in the use of discovery materials in judicial proceedings in this case,

except that any document filed by any party which attaches or otherwise discloses

specially identified sensitive information as described in Paragraph 3, above, shall

be filed under seal to the extent necessary to protect such information, absent prior

permission from this Court.




                                           4
    Case: 1:15-cr-00756 Document #: 18 Filed: 01/27/16 Page 5 of 5 PageID #:125




      10.    Nothing contained in this Order shall preclude any party from

applying to this Court for further relief or for modification of any provision hereof.



                                        ENTER:


                                        YOUNG B. KIM
                                        Magistrate Judge
                                        United States District Court
                                        Northern District of Illinois

Date: January 27, 2016




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